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 1   DANIEL BRODERICK, Bar #89424
     Federal Defender
 2   801 I Street, 3rd Floor
     Sacramento, California 95814
 3   Telephone: (916) 498-5700
 4
     Attorney for Defendant
 5   DARRON ANTJUAN REED
 6
                        IN THE UNITED STATES DISTRICT COURT
 7
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,       )     No. CR-S-07-0348 FCD
                                     )
10                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
11        v.                         )
                                     )
12   DARRON ANTJUAN REED             )     Date: August 4, 2008
                                     )     Time: 10:00 A.M.
13                                   )     Judge: Hon. Frank C. Damrell, Jr.
                    Defendants.      )
14   _______________________________ )
15        IT IS HEREBY STIPULATED by and between the parties hereto through
16   their respective counsel, Philip Ferrari, Assistant United States
17   Attorney, attorney for Plaintiff and Daniel Broderick, Federal
18   Defender, attorney for Darron Antjuan Reed, that the current Status
19   Conference/Change of Plea currently scheduled for Monday, July 14, 2008
20   be vacated and a new date of August 4, 2008, at 10:00 a.m., be set for
21   further status/change of plea.
22         Both defense counsel have met and discussed probable resolution
23   of this case; however, additional time is needed for one final meeting
24   among counsel, Mr. Reed, and the case agent.        Due to scheduling
25   conflicts, that meeting cannot occur until the week of July 21, 2008.
26   Upon completion of that meeting, the parties anticipate a resolution of
27   this case against Mr. Reed and will file in advance with the court a
28   Stip & Ord. To Continue
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 1   copy of any written plea agreement.
 2        It is further stipulated and agreed between the parties that the
 3   period beginning today, July 10, 2008 and August 4, 2008, should be
 4   excluded in computing the time within which the trial of the above
 5   criminal prosecution must commence for purposes of the Speedy Trial Act
 6   for defense preparation.    All parties stipulate and agree that this is
 7   an appropriate exclusion of time within the meaning of Title 18, United
 8   States Code, Section 3161(h)(8)(iv) and Local Code T4.
 9
10   Dated: July 10, 2008             Respectfully submitted,
11
12                                     /s/ Daniel J. Broderick
                                      DANIEL J. BRODERICK
13                                    Federal Defender
                                      Attorney for Defendant
14                                    DARRON ANTJUAN REED
15
16                                    MCGREGOR W. SCOTT
                                      United States Attorney
17
18                                    /s/Daniel Broderick for PHILIP FERRARI
                                      PHILIP FERRARI
19                                    Assistant U.S. Attorney
20
                                          ORDER
21
          IT IS SO ORDERED.
22
     DATED: July 10, 2008
23
                                               _______________________________________
24                                             FRANK C. DAMRELL, JR.
                                               UNITED STATES DISTRICT JUDGE
25
26
27
28


     Stip & Ord. To Continue               2
